
258 P.3d 676 (2011)
172 Wn.2d 1004
STATE of Washington, Petitioner,
v.
George W. RYAN, Respondent.
No. 85947-7.
Supreme Court of Washington.
August 9, 2011.
Prior report: 160 WasLApp. 944, 252 P.3d 895.

ORDER
¶ 1 A Special Department of the Court, composed of Chief Justice Madsen and Justices Alexander, Fairhurst, Stephens, and Wiggins, considered at its August 9, 2011, Motion Calendar, whether review should be granted pursuant to RAP 13.4(b), and unanimously agreed that the following order be entered.
¶ 2 IT IS ORDERED:
¶ 3 That the Petition for Review is granted and is consolidated under Supreme Court No. 85789-0State of Washington v. Enrique Guzman Nunez. Any party may serve and file a supplemental brief within 30 days of the date of this order, see RAP 13.7(d). All further pleadings should be filed under Supreme Court No. 85789-0.
For the Court
/s/ Madsen, C.J.
CHIEF JUSTICE
